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From:                               Ben Watson
Sent:                               Friday, February 15, 2013 4:29 PM
To:                                 'Cameron, Roger' (Roger.Cameron@KlineSpecter.com)
Cc:                                 Bryan Aylstock (BAylstock@awkolaw.com); Tom P. Cartmell (tcartmell@wcllp.com);
                                    Renee Baggett (RBaggett@awkolaw.com); Diane K. Watkins (dwatkins@wcllp.com); Erin
                                    Copeland (External) (ecopeland@fhl-law.com); Jason Richards
                                    (JRichards@awkolaw.com); Donna Jacobs; Kari Sutherland
Subject:                            Re: Meet and Confer


Roger and Bryan,

Please see my responses below.


From: Cameron, Roger [mailto:Roger.Cameron@KlineSpecter.com]
Sent: Friday, February 08, 2013 1:35 PM
To: Ben Watson
Cc: Bryan Aylstock; tcartmell@wcllp.com; Balefsky, Lee; Renee Baggett; dwatkins@wcllp.com; 'ecopeland@fhl-law.com';
'JRichards@awkolaw.com'
Subject: Meet and Confer

Ben:

On behalf of my colleagues and for myself, please accept our thanks for the opportunity to discuss with you on Monday,
February 4, 2012 plaintiffs’ concerns about deficiencies in the written discovery responses provided by J&J, D, Ethicon,
Inc. and Ethicon, LLC in this matter. While it is apparent from our conference call that day that significant differences
exist on the issues discussed, it is important to note also that progress appears to have been made.

Pending a further response from you on those issues, on which you informed us that you would need to confer with
your colleagues and/or clients, please see below a truncated review of the Ethicon, Inc. response to Requests for
Production of Documents, that I told you at the end of our conference that I would put together. I anticipate that this
format would serve just as well, if not better, than a lengthy discussion of each RFP and that this presentation would
allow you to consolidate quickly a single follow up to the conference call and this writing.

Applicable Agreements on Issues Presented:

The parties agreed to consider limiting the scope of OUS and hernia product related document production. Plaintiffs
now expect to provide shortly a more limited universe of subjects of documents within these categories and that
defendants will re-assess what categories of documents they consider more reasonable to produce.

[Your understanding is correct. We look forward to receiving Plaintiffs’ proposed limits on ex-US and hernia
documents. If Bryan Aylstock’s Feb. 8 e-mail on ex-Us documents is the proposed restriction, please confirm.]

Your clients’ agreement to remove the general objections and preliminary statements from the discovery responses, we
understand, applies to these RFPs.

[Your understanding on the general objections and preliminary statements is correct. We do not waive any objections
by doing this, but if one of the general objections applies to a particular discovery response, we will state it specifically in
response to a particular discovery request.]
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Replies to Pending Objections:

Please note that these replies are not necessarily representative of all of the matters that make defendants objections in
appropriate and that plaintiffs reserve the right to supplement these replies in future communications to defendants
and/or the Court.

    A. In each of the RFPs in which your clients raises an objection that documents are equally available to the parties,
       plaintiffs call your client’s attention to the procedural fact that no such objection is available in responding to an
       RFP. And, even if it were, your client’s response does not set forth a single fact to substantiate that assertion,
       even though factual substantiation is required by the rules. Moreover, the facts as we know them decidedly
       show that equally available is not the case here. For example, note that that there are at least 150
       different, relevant databases, websites and similar electronic information systems that your client utilizes (see,
       Response to Interrogatory No. 17) without linking productions from them to any specific production or request
       made and while nonetheless about 6,000,000 pages of unsourced documents, many with limited metadata.

[The production index breaks down the productions by custodian and/or source. This, along with the substantial
metadata that exists, makes the extensive prior productions equally searchable to you. For example, if you want adverse
event reports, you can go to the portion of the production that has been identified as the Remetrix/CHATS database. If
there are particular documents that you believe that you cannot find, we would be glad to work with you to see if we
can come up with a solution.]

    B. Protecting the alleged confidentiality of trade secrets and business information is another objection pervading
       the responses. The approved confidentiality agreement obviates the need for your client to object and withhold
       documents on that basis.

[We agree and will withdraw this objection as the Confidentiality Order will prevent disclosure of confidential
documents.]

     C. Similarly, your client’s repeated claims in response to certain RFPs that it is identifying some examples of
        responsive documents is not permitted under the rules of procedure. Moreover, they logically establish that
        your client knows the identity of all (or at least more) documents responsive to that request and that it has
        selected, on some undisclosed basis, only certain documents to be examples, rather than identifying or
        producing all documents responsive to the RFP.
[As stated above, we believe that the extensive production that has already been made is equally searchable,
particularly where the custodian and/or database has been specifically given. I note below that you object to Ethicon’s
reference to a 12,000 page range of documents. However, those documents are intended to be responsive to AE
procedures. There is nothing improper about directing you to the documents that Ethicon maintains are responsive to
this request.]

    D. Please note that, while not specifically discussed during our telephone conference, your client’s general
       objections, without specifically described support, should be considered waived and any information or
       documents withheld on the basis of any such objection provided.

[Since we have agreed to withdraw the general objections and provide specific objections to each discovery response,
this should not continue to be an issue.]

    E. One of those non-specific objections is based on attorney work product and attorney client
       communication. Notably, no required log of such documents has been produced, let alone a statement that
       such privileged materials were actually withheld in response to any particular discovery response. Plaintiffs
       therefore have no way of determining whether or not answers or productions are complete and no basis on
       which determine whether to challenge the objection.

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[We have produced a privilege log. In fact, we recently received a letter on Feb. 8 making various challenges to our
privilege log.

      F. Finally, your client responds to every RFP “subject to” its objections. There is no authority for doing so and/or
         reserving objections in any way under the federal rules of civil procedure. Consequently, plaintiffs consider
         those objections to be invalidly asserted and/or waived. All documents responsive to those RFPs should be
         produced, regardless of the attempted reservation of objections. As this “subject to” limitation is asserted in
         response to each RFP, plaintiffs incorporate this paragraph into the replies to each of those
         objections/responses, even though this paragraph is not listed specifically in the analysis of the individual RFPs
         below.

[Perhaps there is a way to work through this. If we can resolve our differences on the issues that separate us, then
perhaps some of the objections can be withdrawn. Hernia mesh is a good example. We must preserve this objection
until we come to an agreement or we have guidance from the court. One alternative to us was to simply object and
move on. We did not do that. We preserved our objections and then responded subject to those objections. ]

The Individual Requests for Production:

For the sake of quick reference only, here is a table of the requests, principal objections and plaintiffs’ replies,
referenced by the paragraph of the Replies section above. Note the subjects and objections and replies are not
necessarily inclusive of all matters within their scope.

No.     Subject                        Specified Objection                Replies
                                       (Other than Non-Specific Ones,
                                       e.g. Relevancy)
2.      Role of Each Defendant         “equally available”; examples      A, B, C, D, E
                                       given
3.      Intra-defendant, other         “equally available”; examples      A, B, C, D, E
        person development             given
        contracts
4.      B/D, D, Executive              “equally available”; examples      A, B, C, D, E; As J&J has judicially admitted to
        Committee                      given; no J&J                      appear together with Ethicon in a single line of
                                                                          the verdict form in trial of Gross v. Ethicon, Inc.
                                                                          et al., its relations at board and executive level
                                                                          with Ethicon are at issue;
5.      Storage of Documents           Unreasonable burden                No facts set forth as to nature/type/age/
                                                                          magnitude/control/expense of retrieval
6.      Mesh document logs             “equally available”;               A, B, C, D, E
7.      Document Preservation          “equally available”; examples      A, B, C, D, E
                                       given
11.     Databases                      Hernia                             Refinement pending
12.     Government investigations      “equally available”; examples      A, B, C, D, E
                                       given
13.     Patent litigation              Relevancy (no statement that       A, B, C, D, E
                                       such documents even exist; no
                                       production)
14.     Documents from any             Vast majority produced;            Asked for all; A
        litigation                     “equally available”
15      FDA documents                  Hernia; “equally available”;       Refinement pending; A, B, C, D, E
                                       examples given
16.     Foreign regulatory             Hernia; “equally available”;       Refinement pending; A, B, C, D, E

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      submission                    examples given
17.   Countries approved for sale   Hernia; “equally available”;      Refinement pending; A, C, D, E
                                    examples given
18.   FDA/foreign PMS               “equally available”; examples     A, B, C, D, E
                                    given
19.   483 documents                 “equally available”; examples     A, B, C, D, E
                                    given
20.   Marketplace withdrawal        “equally available”; examples     A, B, C, D, E
                                    given
21.   Countries not licensing       OUS, No production                Refinement pending; B, C, D, E
22.   Countries submitted,          “equally available”; examples     A, B, C, D, E
      approving                     given
23.   Countries deferring           OUS, No production                Refinement pending
      approval
24.   Government standards          “equally available”;              A, B, D, E; if defendants had a copy, should
                                                                      produce that copy
26.   Government investigations     “equally available”; examples     A,B,C, D, E
      re 510(K) failure             given; see RFP 15
28.   Adverse events/defects        “equally available”; examples     A, B, C, D, E
                                    given; [ Note: no hernia
                                    objection]
29.   Efficacy                      “equally available”; examples     Refinement pending; A, B, C, D, E
                                    given
30.   Preclinical, clinical         “equally available”; examples     A, B, C, D, E
                                    given
31.   Study reports                 “equally available”; examples     A, B, C, D, E
                                    given
32    Study protocol                “equally available”; examples     A, B, C, D, E
                                    given
33.   Proposed safety studies       “equally available”; examples     A, B, C, D, E
                                    given
34.   AE procedures                 “equally available”; examples     A, B, C, D, E [Excluding custodial productions
                                    given                             references, just the single bates number
                                                                      production referral is >12,000 pages]
36.   Manufacturing                 “equally available”; examples     A, B, C, D, E
                                    given
37.   Design Documents              “equally available”; examples     A, B, c, D, E
                                    given
38.   Manufacturing SOPs            “equally available”; examples     A, B, C, D, E
                                    given
41.   User complaints               “equally available”; see No. 35   A, B, C, D, E [not all complaints are included in
                                                                      database]
42.   Hospital complaints           “equally available”; see No. 35   A, B, C, D, E [not all complaints are included in
                                                                      database]
43.   Internal communications re    “equally available”; examples     A, B, C, D, E
      AE                            given
47.   Medical literature            “equally available”;              A, B, C, D, E
48.   Bibliographies                Definition unclear; no hernia     Refinement pending; bibliographies of literature
                                                                      is intended meaning
49.   Communications with           “equally available”; examples     A, B, C, D, E

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      journals                        given
50.   Documents re literature         “equally available”; examples   A, B, C, D, E
                                      given
51.   Epidemiology studies            “equally available”; examples   A, B, C, D, E
                                      given
52.   Data from published             “equally available”;            A, B, C, D, E
      studies
53.   Data from unpublished or        “equally available”; OUS        Refinement pending; A, B, D, E
      discontinued studies
54.   Registries                      “equally available”; OUS        Refinement pending; A, B, C, D, E
55.   Pre-clinical Testing            “equally available”; OUS        Refinement pending; A, B, C, D, E
56.   Pre-clinical and clinical       “equally available; OUS         Refinement pending; A, B, C, D, E
      investigator notebook
57.   Internal communications re      “equally available”             A, B, C, D, E
      safety
58.   SOPs for PMS                    “equally available”; examples   A, B, C, D, E
                                      given
59.   SOPs for Pre-clinical and       “equally available”; examples   Refinement pending; A, B, C, D, E
      Clinical Trials                 given; OUS
60.   SOPs for recording and          “equally available”; examples   Refinement pending; A, B, C,E
      reporting AEs internally and    given; OUS
      to regulators
61.   Documents re providing          “equally available”; examples   A, B, C, D, E
      information to consumers,       given;
      HCPs
62.   Meetings with doctors and       “equally available”; examples   A, B, C, D, E; ESI does not limit scope of all
      investigators re pre-clinical   given; beyond ESI               discoverable materials
      and clinical trials
63.   Pre-clinical and clinical       “equally available”             A, B, D
      documents from doctors
      and investigators NOT
      provided to FDA
64.   Retention of 3rd party          “equally available”; examples   A, B, C, D, E
      safety, efficacy analyses       given;
65.   Compensation for 3rd party      “equally available”; examples   Refinement pending; A, B, C, D, E
      mesh work, including            given; OUS
      literature
66.   Groups tasked with              “equally available”;            A, B, D, E
      addressing questions on
      safety and efficacy
67.   Global Safety Board             “equally available”; hernia;    Refinement pending; A, B, D, E
                                      OUS
68.   Manufacturing processes         “equally available”; examples   A, B, C, D, E
                                      given;
69.   Changes to manufacturing        “equally available”             A, B, C, D, E
      process considered but not
      adopted
70.   Design documents                Duplicative RFP 37              Withdrawn
71.   Design changes                  Duplicative RFP 37              If defendants agree to consider proposed and/or
                                                                      considered design changes within the scope of
                                                                      RFP 37 and produce such documents in response
                                                             5
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                                                                   to that RFP, Withdrawn
72.   Mesh Product safety         Duplicative RFP 4, 28, 30, 33,   If defendants agree to consider documents
      comparisons to other PFR,   47, 57, 61                       responsive to this RFP to be within scope of
      SUI products                                                 those RFPs and produce such documents in
                                                                   response to those RFPs, Withdrawn
73.   Mesh Product efficacy       Duplicative RFP 4, 28, 29, 30,   If defendants agree to consider documents
      comparisons to other PFR,   33, 47, 57, 61                   responsive to this RFP to be within scope of
      SUI products                                                 those RFPs and produce such documents in
                                                                   response to those RFPs, Withdrawn
74.   Safety and efficacy         Duplicative RFP 72, 73           If defendants agree to consider documents
      comparisons to own and                                       responsive to this RFP to be within scope of
      others’ products                                             those RFPs and produce such documents in
                                                                   response to those RFPs, Withdrawn
75.   Evaluations of safety       Duplicative of RPF 29, 30 33     If defendants agree to consider documents
                                                                   responsive to this RFP to be within scope of
                                                                   those RFPs and produce such documents in
                                                                   response to those RFPs, Withdrawn
76.   Agreements re testing,      Duplicative of 3, 27, 65         If defendants agree to consider documents
      R&D, evaluation                                              responsive to this RFP to be within scope of
                                                                   those RFPs and produce such documents in
                                                                   response to those RFPs, Withdrawn
77.   QA/QC policies and          “equally available”; examples    A, B, C, D, E
      procedures                  given;
78.   Inserts, IFUs               “equally available”’ examples    Refinement pending; A, B, C, D, E
                                  given; hernia
79.   Approved Core Data Sheets No definition - CDS; hernia        Refinement pending; See CFR for definition
80.   Dear Doctor/HCP letters     “equally available”; examples    A, B, C, D, E
                                  given
81.   Consumer info               “equally available”; examples    A, B, C, D, E
      sheets/brochures            given
82.   Detail aids, doctor         “equally available”; examples    Refinement pending; A, B, C, D, E
      promotional documents       given; OUS
83.   Promotionals left with HCPs Duplicative RFP 81, 82           If defendants agree to consider documents
                                                                   responsive to this RFP to be within scope of
                                                                   those RFPs and produce such documents in
                                                                   response to those RFPs, Withdrawn
84.   Doctor training materials   “equally available”; examples    A, B, C, D, E
                                  given
85.   Logs of sales materials     Duplicative RFP 81-84            If defendants agree to consider documents
                                                                   responsive to this RFP to be within scope of
                                                                   those RFPs and produce such documents in
                                                                   response to those RFPs, Withdrawn;
86.   Copy Review Documents       “equally available”; examples    A, B, C, D, E
                                  given;
87.   Marketing and Launch        “equally available”; examples    A, B, C, D, E
      plans                       given;
88.   TV Ads                      None                             ???
89.   Radio Ads                   “equally available”; examples    A, B, C, D, E
                                  given
90.   Documents identifying       “equally available”; examples    A, B, C, D, E
      ad/PR firms                 given
                                                           6
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91.   Documents memorializing        “equally available”               A, B, D, E
      broadcast of TV/radio ad
92.   Direct to Consumer             “equally available”; examples     A, B, C, D, E
      campaigns                      given
93.   Print advertisements           Duplicative RFP 91, 92            If defendants agree to consider documents
                                                                       responsive to this RFP to be within scope of
                                                                       those RFPs and produce such documents in
                                                                       response to those RFPs, Withdrawn;
94.   Event advertisements           “equally available”               A, B, D, E
95.   Focus groups/surveys           “equally available”; examples     A, B, C, D, E
                                     given
96.   Website                        “equally available”; examples     A, B, C, D, E; ESI does not limit scope of all
                                     given; non-ESI;                   discoverable materials
97.   Internet advertisements        “equally available”; examples     A, B, C, D, E; ESI does not limit scope of all
                                     given; non-ESI;                   discoverable materials
98.   Identification of Sales Reps   “equally available”; examples     A, B, C, D
                                     given;
99.   Training documents             “equally available”; examples     A, B, C, D
                                     given
100. Training videos                 Duplicative RFP 99                If defendants agree to consider documents
                                                                       responsive to this RFP to be within scope of that
                                                                       RFP and produce such documents in response to
                                                                       that RFP, Withdrawn;
101. Audio and Video files for       Duplication RFP 99                If defendants agree to consider documents
     Training                                                          responsive to this RFP to be within scope of that
                                                                       RFP and produce such documents in response to
                                                                       that RFP, Withdrawn;
102. Audio communications to         “equally available”; examples     A, B, C, D
     sales force                     given
103. Emails, writings to sales       “equally available”; examples     A, B, C, D, E
     forces                          given
104. Sales call, field notes         Will discuss data production      B, D, E Without waiving their rights and as a
                                     from “Goldmine”                   predicate to such discussions, Plaintiffs require a
                                                                       writing describing the scope and time period of
                                                                       the data
105. HCP product orders              No substantive response           B, D, E
106. Sales rep details re HCP        Duplicative RFP 104               If defendants agree to consider documents
     contacts                                                          responsive to this RFP to be with the scope of
                                                                       that RFP and produce such documents in
                                                                       response to that RFP, Withdrawn
107. US regulatory comment on        Duplicative RFP 12, 15, 18, 19,   If defendants agree to consider documents
     promotions                      21-26                             responsive to this RFP to be within scope of
                                                                       those RFPs and produce such documents in
                                                                       response to those RFPs, Withdrawn;
108. Procedures for sales reps to    “equally available”; examples     A, B, C, D, E
     record HCP visit details        given
109. Training sales                  Duplicative RFP 99, 103-106,      If defendants agree to consider documents
     representative                  108                               responsive to this RFP to be within scope of
                                                                       those RFPs and produce such documents in
                                                                       response to those RFPs, Withdrawn;
110. Sales representative            “equally available”; examples     A, B, C, D, E
                                                            7
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       compensation                  given
111.   Identification of thought     No substantive response           B, D, E
       leaders
112.   Market share, sales US        No substantive response           B, D, E
113.   Market share, sales OUS       OUS; no substantive response      Refinement pending; B, D, E
114.   Labeling SOPs                 “equally available”               A, B, D, E
115.   Dear HCP SOPs                 “equally available”               A, B, D, E
116.   SOPs for Inserts              “equally available”               A, B, D, E
117.   Information on Use,           “equally available”               A, B, D, E
       Contraindications,
       Complications for HCPs
118.   Documents re Marketing        Duplicative RFP 87, 90, 92        If defendants agree to consider documents
                                                                       responsive to this RFP to be within scope of
                                                                       those RFPs and produce such documents in
                                                                       response to those RFPs, Withdrawn;
119. Mesh Revenue US                 No substantive responsive         B, D, E
120. Mesh Profits US                 No substantive responsive         B, D, E
121. Media reports                   “Equally available”               A; availability of such reports is not equal public
                                                                       sources, as the identities of most such sources
                                                                       are unknown to plaintiffs
122. Web marketing                   Duplicative RFP 96, 97            If defendants agree to consider documents
                                                                       responsive to this RFP to be within scope of
                                                                       those RFPs and produce such documents in
                                                                       response to those RFPs, Withdrawn;
123. Facebook marketing              Duplicative RFP 122               If defendants agree to consider documents
                                                                       responsive to this RFP to be within scope of that
                                                                       RFP and produce such documents in response to
                                                                       that RFP, Withdrawn;
124. Chatroom marketing              Duplicative RFP 122               If defendants agree to consider documents
                                                                       responsive to this RFP to be within scope of that
                                                                       RFP and produce such documents in response to
                                                                       that RFP, Withdrawn;

[We incorporate our responses to A-E above to the RFPs identified in this chart. Where we have objected based on
duplication, we will produce documents for these requests pursuant to the original, non-duplicative request subject to
any objections in the original request. ]


With our agreements and disagreements now spelled out and ripe for resolution, your clients’ prompt reply, in
conjunction with their promised replies to the matters we discussed on Monday, would be appreciated. It is our
intention to move these issues forward quickly through the meet and confer process or motion practice, if necessary.

Yours truly,

Roger P. Cameron




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